                    Case: 1:20-cv-02341 Document #: 5 Filed: 05/27/20 Page 1 of 3 PageID #:74
AO 440 (Rev. 05/00) Summons in a Civil Action



                                       UNITED STATES DISTRICT COURT
                                                    NORTHERN DISTRICT OF ILLINOIS



                                                                           SUMMONS IN A CIVIL CASE
CARLOS ESCARZA,

Plaintiff,
                                                                 CASE NUMBER:       1:20-cv-02341
                                V.                               ASSIGNED JUDGE: Honorable Marvin E. Aspen
THE BANK OF NEW YORK MELLON f/k/a The Bank of New York,
as Trustee for CWHEQ Inc., Home Equity Loan Asset Backed         DESIGNATED
Certificates, Series 2006-S10; SPECIALIZED LOAN SERVICING
LLC; and McCALLA RAYMER LEIBERT PIERCE, LLC                      MAGISTRATE JUDGE: Honorable Sidney I. Schenkier


                    TO: (Name and address of Defendant)
       THE BANK OF NEW YORK MELLON
       f/k/a The Bank of New York, as Trustee for CWHEQ Inc., Home Equity Loan Asset
       Backed Certificates, Series 2006-S10
       C/o CT Corporation System
       208 S. LaSalle Street, Suite 814
       Chicago, IL 60604
          YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF’S ATTORNEY (name and address)
                 Rusty A. Payton
                 PAYTON LEGAL GROUP
                 20 North Clark Street
                 Suite 3300
                 Chicago, Illinois 60602


                                                                               21
an answer to the complaint which is herewith served upon you,                                days after service of this
summons upon you, exclusive of the day of service. If you fail to do so, judgment by default will be taken against you for
the relief demanded in the complaint. You must also file your answer with the Clerk of this Court within a reasonable
period of time after service.




     THOMAS G. BRUTON, CLERK

                                                                                     May 15, 2020
     (By) DEPUTY CLERK                                                               DATE
                     Case: 1:20-cv-02341 Document #: 5 Filed: 05/27/20 Page 2 of 3 PageID #:75
AO 440 (Rev. 05/00) Summons in a Civil Action
                                                                 RETURN OF SERVICE
                                                                                        DATE
          Service of the Summons and complaint was made by me(1)
NAME OF SERVER (PRINT)                                                                  TITLE


   Check one box below to indicate appropriate method of service

          G Served personally upon the defendant. Place where served:                           SEE ATTACHED AFFIDAVIT




          G Left copies thereof at the defendant’s dwelling house or usual place of abode with a person of suitable age and
            discretion then residing therein.
              Name of person with whom the summons and complaint were left:

          G Returned unexecuted:




          G Other (specify):




                                                            STATEMENT OF SERVICE FEES
TRAVEL                                                SERVICES                                           TOTAL



                                                              DECLARATION OF SERVER

                   I declare under penalty of perjury under the laws of the United States of America that the foregoing information
          contained in the Return of Service and Statement of Service Fees is true and correct.


          Executed on
                                        Date                    Signature of Server




                                                                Address of Server




(1) As to who may serve a summons see Rule 4 of the Federal Rules of Civil Procedure.
                  Case: 1:20-cv-02341 Document #: 5 Filed: 05/27/20 Page 3 of 3 PageID #:76

                                                        AFFIDAVIT OF SERVICE

 Case:         Court:                                                 County:   Job:
 1:20-cv-      UNITED STATES DISTRICT COURT NORTHERN                            4540120 (Escarza v. Bank of NY Mellon, et al. (3
 02341         DISTRICT OF ILLINOIS                                             defendants))
 Plaintiff / Petitioner:                                              Defendant / Respondent:
 CARLOS ESCARZA,                                                      THE BANK OF NEW YORK MELLON f/k/a The Bank of New York, as
                                                                      Trustee for CWHEQ Inc., Home Equity Loan Asset Backed
                                                                      Certificates, Series 2006-S10; SPECIALIZED LOAN SERVICING LLC;
                                                                      and McCALLA RAYMER LEIBERT PIERCE, LLC
 Received by:                                                         For:
 Nationwide Investigations                                            PAYTON LEGAL GROUP
 To be served upon:
 THE BANK OF NEW YORK MELLON f/k/a The Bank of New York, as Trustee for CWHEQ Inc., Home Equity Loan Asset Backed Certificates,
 Series 2006-S10 C/o CT Corporation System

I, Kyle Clutter, being duly sworn, depose and say: I am over the age of 18 years and not a party to this action, and that within the
boundaries of the state where service was effected, I was authorized by law to make service of the documents and informed said person of
the contents herein

Recipient Name / Address:    Derek Hackett , Company: 208 S. LaSalle Street, Suite 814, CHICAGO, IL 60604
Manner of Service:           Authorized, May 18, 2020, 1:51 pm CDT
Documents:                   Summons and Complaint (Received May 16, 2020 at 2:46am CDT)

Additional Comments:
1) Successful Attempt: May 18, 2020, 1:51 pm CDT at Company: 208 S. LaSalle Street, Suite 814, CHICAGO, IL 60604 received by Derek
Hackett . Relationship: Document Specialist ;




                                           05/18/2020
Kyle Clutter                               Date
115-002370

Nationwide Investigations
116 W Jackson Suite 254
Chicago , IL 60604
312-361-3598
